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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                          CASE NOS.: 5:18-CR-448

     Plaintiff                                    JUDGE BENITA Y. PEARSON

v.                                                MOTION TO APPOINT EXPERT

PHILIP M. POPA, JR.,

     Defendant

        Now comes the Defendant Philip M. Popa, Jr., by and through the undersigned counsel,

and respectfully requests that this Court appoint Tami Loehrs of Loehrs Forensics, LLC as an

expert in this matter. Ms. Loehrs CV is attached to her affidavit which is attached hereto.

        Ms. Loehrs is a digital forensics expert and owner of Loehrs Forensics, LLC a firm

specializing in digital forensics. She has completed hundreds of hours of forensics training

including courses with Guidance Software and Access Data and is an EnCase Certified Examiner

(EnCE), an Access Data Certified Examiner (ACE), a Certified Computer Forensic Examiner

(CCFE) and a Certified Hacking Forensic Investigator (CHFI) and has conducted seminars on

Computer Forensics and Electronic Discovery throughout the United States. She has hundreds of

forensics exams on thousands of pieces of evidence including hard drives, cell phones,

removable storage media and other electronic devices. She has also been the digital forensics

expert on over 500 child pornography cases and has testified over 120 times in State, Federal and

international Courts.

        Mr. Popa is requesting Ms. Loehrs be appointed as an expert in this matter to assist the

undersigned in both understanding and addressing the digital forensics at the heart of this matter.
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While the undersigned had endeavored to speak to a local expert, it became clear after speaking

to Ms. Loehrs that someone with her knowledge and experience was necessary to provide

effective assistance of counsel to Mr. Popa. Ms. Loehrs has already identified several areas that

require further inquiry after reviewing the documents provided by the Government in discovery.

Those areas are addressed in her Affidavit, also attached hereto, and include concerns with

statements made in the Affidavit in support of the search warrant regarding what was discernable

prior to obtaining the warrant and the use of the law enforcement software. She further has

opined that an independent forensic analysis of Mr. Popa’s computer is necessary to provide a

complete defense.

       For the foregoing reasons, Mr. Popa respectfully requests that this Court appoint Ms.

Loehrs as an expert and provide a budget that allows for 40 hours to conduct a forensic

examination of the evidence, prepare a detailed report and supplement her Affidavit if necessary.

See Affidavit, ¶ 22.

                                            Respectfully submitted,
                                            WILLIAM T. WHITAKER CO. LPA
                                            /s/Andrea Whitaker
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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed this 11th day of

February, 2019. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system.



                                           /s/ Andrea Whitaker
                                           Andrea Whitaker
